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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       Case No. 22-23074-CIV-BLOOM/OTAZO-REYES

 OCTAVIO COLLADO,
 for himself and all others similarly situated,

        Plaintiff,

 v.

 450 NORTH RIVER DRIVE, LLC, et al.,

       Defendants.
 __________________________________________/

                                                  ORDER

        THIS CAUSE came before the Court upon Defendants 450 North River Drive LLC, d/b/a

 Kiki on the River (“Kiki”), Roman Jones (“Jones”), and RJ River, LLC (“RJ”) (hereafter,

 “Defendants”) Joint Motion to Compel In-Person Settlement Conference (hereafter, “Motion to

 Compel”) [D.E. 67]. This matter was referred to the undersigned pursuant to 28 U.S.C. § 636 by

 the Honorable Beth Bloom, United States District Judge [D.E. 26]. The undersigned held a

 telephonic hearing on this matter on February 8, 2023.

        As discussed at the hearing, given Defendants’ objection to conducting the settlement

 conference via Zoom video conference, the settlement conference shall be conducted in person.

 Therefore, it is ORDERED AND ADJUDGED that the Motion to Compel [D.E. 67] is

 GRANTED. However, due to Plaintiff’s counsel’s unavailability, the settlement conference

 previously scheduled for February 16, 2023, is CANCELLED.               Moreover, due to the

 undersigned’s unavailability to conduct the settlement conference by February 17, 2023, which is
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 the current deadline, the parties shall seek an extension of time to conduct the settlement

 conference on a later date that is mutually agreeable to the parties and convenient for the Court.

        DONE AND ORDERED in Chambers at Miami, Florida this 9th day of February, 2023.


                                               ________________________________
                                               ALICIA M. OTAZO-REYES
                                               UNITED STATES MAGISTRATE JUDGE

 cc:    United States District Judge Beth Bloom
        Counsel of Record




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